     . .            e   VIC9rM           :, ·   ,   ··.:
99-SNLJ Doc. #: MAIL™
    CERTIFIED   25 Filed: 06/11/21 Page: 1 o
                       RECEIPT
    (Domestic Mail Only; No Insurance Coverage Provided)
99-SNLJ
 :ertified MallDoc.  #: 25 Filed: 06/11/21 Page: 2 o
                Provides:
   A mailing receipt
 ' A unique Identifier for your mallplece
 , A record of delivery kept by the Postal Service for two years
 nportant Reminders:
   Certified Mall may ONLY be combined with First-Class Mal'® or Priority Malla
   Certified_ Mall Is not available for any class of International mail.
   NO INSURANCE COVERAGE IS PROVIDED with Certified Mail. Fo,
   valuables, please consider Insured or Registered Mail.
   For an additional fee, a Return Receipt may be requested to provide proof of
   delivery. To obtain Return Receipt service, please complete and attach a Return
   Receipt {PS Form 3811) to the article and add applicable postage to cover the
 · ,-.. .c:nrlnr~e mailplece "Return Receipt RequestE!d". To receive a fee waiver for
                 return receipt, a USP5® postmark on your Certified Mail receipt is

              ditional fee, delivery may be restricted to the addressee 01
              ~authorized agent. Advise the clerk or mark the mailpiece with thE
             ,nt "RestrictedDe/ivery•.
             irk on the Certified Mall receipt Is desired, please present the arti-
             post office for postmarking. If a postmark on the Certified Mai
             1ot needed, detach and affix label with postage and mail.

             ·: Save this receipt and present it when making an inquiry.
             August 2006 (Reverse) PSN 7530-02-000·9047
